  Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 1 of 62        PageID #: 1




                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MAINE


NANCY BATAL-SHOLLER,                   )
                                       )
                    Plaintiff,         )
                                       )
       v.                              )
                                       )       Case No.
MARILYN BATAL, Individually            )
and as Personal Representative of      )
the Estate of Edward B. Batal, Sr.,    )
                                       )
THE BATAL FAMILY LIVING                )
TRUST,                                 )
                                       )
BATAL CORP., d/b/a Batal               )
Corporation and/or The Batal           )
Agency,                                )
                                       )
                     and               )
                                       )
THE EDWARD B. BATAL                    )
DEFINED CONTRIBUTION                   )
PLAN,                                  )
                                       )
                    Defendants         )


        PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff Nancy Batal-Sholler, by and through undersigned counsel, hereby

complains against Defendants as follows:

                                 INTRODUCTION

      1.    This action alleges civil RICO Act violations and a RICO conspiracy;

ERISA interference, breach of fiduciary duty, and a claim for benefits; fraud and

fraudulent transfers; negligent misrepresentation; tortious interference with both an



                                           1
  Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 2 of 62          PageID #: 2




expectancy of inheritance and a prospective economic advantage; unpaid wages; and

misappropriation of trade secrets against Defendants.

      2.     This action arises from the devastating economic loss that Plaintiff

Nancy Batal-Sholler (“Nancy”) suffered after she spent more than thirty years

building and running her father’s insurance company, only to have her hard work,

profits, wages, retirement benefits, and entire client list eviscerated by Defendants’

greed. Defendants conspired to defraud Nancy of employee benefits and wages, and

then stole the company she worked for thirty years to build right out from under her.

Before Defendants stole everything from Nancy, they conspired to defraud Nancy and

the United States Government of employer-paid payroll taxes by intentionally

misclassifying Nancy as an independent contractor instead of an employee. This

fraudulent misclassification also enabled Defendants to deprive Nancy of 401k

benefits under the Edward B. Batal Defined Contribution Plan.

      3.     The present action evolved from litigation filed by Nancy against her late

father, Edward B. Batal, Sr. (“Ed”), in the York County Superior Court (“YCSC”). The

YCSC action alleged breach of contract and equitable claims related to the sale of the

insurance business to a third party despite multiple promises to Nancy over more than

thirty years that the agency would be “yours and only yours” someday. That action

was brought when Nancy’s father was still alive, before many of the events described

herein occurred. The instant litigation is not duplicative of the YCSC action because

it involves different parties, different legal theories, and new events that have

developed since Ed’s death.



                                          2
  Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 3 of 62          PageID #: 3




      4.      Since Ed’s death, it has become clear that Defendants were engaged in a

RICO Act conspiracy and an ongoing pattern of racketeering activity designed to

defraud Nancy, with multiple predicate RICO acts occurring over the past four years.

      5.      In the YCSC action, Nancy obtained an ex parte order of attachment and

trustee process against the goods, credits, and property of Defendants. That

attachment secured at least $500,000 toward any judgment that Nancy obtained

against her father, including at least five separate real properties owned by Ed and/or

Marilyn.

      6.      In order to obtain relief from the attachment, Defendants’ attorneys in

the YCSC action made false, frivolous, and outrageous allegations against Nancy’s

former counsel. Those false and frivolous allegations were intentionally designed to

convince the YCSC to grant a motion for relief from attachment. Once the YCSC

dissolved the attachment, Defendants fraudulently transferred assets from the Batal

Family Living Trust and sold them, with the express intent of shielding such assets

from Nancy.

      7.      Before Ed’s death, and around the time that he sold the business to a

third party despite years of promises to Nancy that she would own the Agency, Ed and

Marilyn transferred all of their assets to the Batal Family Living Trust. Marilyn then

convinced Ed to disinherit Nancy from the trust, thereby ensuring that Nancy received

none of the multi-million-dollar estate or proceeds from the sale of the business she

had built for decades.




                                          3
  Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 4 of 62          PageID #: 4




      8.      The final coup de grace occurred in 2019, when Marilyn Batal breached

her fiduciary duties and drained the Edward B. Batal Defined Contribution Plan of

nearly $600,000 to additionally shield those assets from Nancy’s reach. Nancy would

have received benefits from this plan if she had been properly classified as an

employee instead of an independent contractor. More importantly, Nancy should have

had ownership and control over the assets of the plan as a shareholder, and eventually

the sole surviving shareholder, of Batal Corp.

                                   THE PARTIES

      9.      Plaintiff Nancy Batal-Sholler (“Nancy”) is an individual residing in the

Town of Acton, County of York, and State of Maine.

      10.     Nancy’s father, Edward B. Batal, Sr. (“Ed”) resided in the Town of

Springvale, County of York, and State of Maine up until the date of his death on March

24, 2019.

      11.     Ed’s wife, Defendant Marilyn Batal (“Marilyn”), is the duly appointed

Personal Representative of his Estate and she is the substituted defendant in the

YCSC action that alleges breach of contract, unjust enrichment, and quantum meruit

against Ed.

      12.     At all times relevant to the facts alleged herein, Defendant Batal Corp.,

d/b/a Batal Corporation and/or The Batal Agency, was an insurance agency located in

Sanford, Maine, and a duly organized Maine business corporation with a principal

place of business in Sanford, Maine, which was engaged in interstate commerce.




                                           4
  Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 5 of 62          PageID #: 5




                           JURISDICTION AND VENUE

      13.    Venue is proper in this Court because Plaintiff resides in York County,

where Defendants’ principal place of business was also located, and many of the

activities described herein occurred in the County of York and State of Maine.

      14.    This Court has federal question subject matter jurisdiction over this case

pursuant to 28 U.S.C. § 1331.

      15.    This Court has supplemental jurisdiction over the remaining claims

advanced herein pursuant to 28 U.S.C. § 1367.

                               BACKGROUND FACTS

                            HISTORY OF BATAL CORP.

      16.    Plaintiff Nancy Batal-Sholler (hereinafter, “Plaintiff” or “Nancy”) is the

adult daughter of the late Edward B. Batal, Sr. (hereinafter, “Ed”).

      17.    Ed founded an insurance agency in Sanford Maine in the 1960s, called

Batal Corp. and/or Batal Corporation d/b/a The Batal Agency, an insurance agency in

Sanford, Maine.

      18.    Batal Corp. and/or/d/b/a Batal Corporation, and/or/d/b/a The Batal

Agency, together with any other party or entity associated with Defendants that

employed Nancy from 1983 until the date she left employment in December of 2017,

is hereinafter referred to collectively as “the Agency.”

      19.     In 1983, Ed asked Nancy to relocate back to Maine with her husband to

work at the Agency. Ed wanted Nancy to assist him with transitioning the Agency

from being a Nationwide Insurance Agent to a multi-company insurance agency.



                                            5
  Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 6 of 62        PageID #: 6




      20.   To entice Nancy’s return to Maine and employment with the Agency, Ed

promised Nancy that she would someday take over the business. Specifically, Ed

promised Nancy that he would retire around the age of 62 and she relied on that

promise.

      21.   In 1983, Nancy was living in Japan with her husband. Nancy’s husband

David was a United States Marine Corps officer stationed in Okinawa at the time.

      22.   Nancy and David relied on Ed’s promises in agreeing to return to the

United States so that Nancy could help Ed run the Agency and become an independent

insurance company. In order to return to Maine, David had to resign from his Marine

Corps post as a career officer. He was honorably discharged from active duty in 1983

and remained in the reserves.

      23.   Nancy returned to Maine and worked for the Agency between 1983 and

1985. Ed asked her to get more experience in the insurance industry, so Nancy also

worked long hours gaining experience for another company.

      24.   By 1985, Nancy was working full time for the Agency. She continued to

work full time for the Agency until her termination on December 31, 2017.

      25.   In or about 1990, Ed began leaving the United States to travel abroad for

extended periods of time, leaving Nancy in charge to run the Agency and develop

business, while Ed maintained control over bookkeeping.

      26.   From the early 1990s until the time that she was fired from the Agency

in December of 2017, Nancy was the only significant producer of business and the only

person performing substantive work for the Agency.



                                         6
  Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 7 of 62           PageID #: 7




      27.    Ed was absent from the Agency on an almost continuous basis from the

early 1990s until the date of his death on March 24, 2019.

       ED’S PROMISES: THE FIRST AND SECOND BATAL WRITINGS

      28.    In 2003, Ed reached the age of 62, which is when he had previously

promised Nancy he would retire and transition full ownership and control of the

Agency to her.

      29.    To prepare for the sale of the Agency, in late 2002, Nancy and/or Ed

prepared a letter that would go out to all clients letting them know that full ownership

and control was being transitioned over to Nancy.

      30.    Ed met with Nancy in April of 2003 to discuss his plans for the future,

including when he would transition full ownership and control of the Agency to Nancy.

      31.    During the April 2003 meeting, Ed revealed that he had changed his

mind about retiring. Ed told Nancy that he wanted to continue receiving income from

the business.

      32.    Ed knew that his decision not to transition ownership and control of the

Agency to Nancy in 2003 was contrary to the promises he had made all along, and on

which she relied to her detriment, for years.

      33.    During this meeting, Ed promised Nancy that he would gift her forty

percent of stock in the company.

      34.    Ed apologized to Nancy for changing his mind about retiring. He met

with Nancy and wrote out two handwritten documents memorializing his promises to




                                           7
  Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 8 of 62           PageID #: 8




her, for the purpose of inducing her continued work for the Agency. During their

meeting, Nancy did not write any notes on the documents that Ed drafted and signed.

      35.    The first document that Ed handwrote to Nancy, which has been referred

to in previous litigation as the “First Batal Writing,” was dated April 18, 2003, and

signed by both Ed and Nancy.

      36.    The First Batal Writing contained promises from Ed that if Nancy

continued to work at the Agency, she would own it someday.

      37.    The First Batal Writing began with a summary of what Ed had observed

about the growth of the Agency in recent years.

      38.    Because Ed had promised Nancy that he would turn the Agency over to

her by 2003, Ed recognized his failure to live up to that promise and made new

promises, writing: “What about Nancy. What can I do to save face? I know to satisfy

you and myself is not going to be easy. Let’s try!”

      39.    The First Batal Writing contained a numbered list of income and growth

projections for the Agency. To induce Nancy’s continued work for the Agency while he

traveled abroad and did essentially no work in insurance sales, Ed agreed to sell

Nancy the Agency in the future. If Nancy grew the Agency beyond the 2002 income

level of $449,198.27, he would “freeze the value (sales) of the Batal Agency at 2 times”

the income level.

      40.    The foregoing language from the First Batal Writing contemplated

selling the Agency to Nancy at a price that would be consistent with industry




                                           8
  Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 9 of 62           PageID #: 9




standards at the time—twice the previous year’s income. By the time that Ed sold the

Agency to a third party, the sale price was less than twice the previous year’s income.

        41.   The First Batal Writing did not discuss what purchase price would be

offered to Nancy to buy the Agency in the event that the income level decreased over

time.

        42.   The First Batal Writing must be construed against Ed as the drafter of

the agreement.

        43.   Specifically, Ed made the following promise to Nancy in the First Batal

Writing: “In time this agency will be yours and only yours when I am no longer in need

[of] this income.”

        44.   Ed also promised in the First Batal Writing to offer a transfer of stock to

Nancy as soon as his lawyer could figure out the “best way tax wise” to do so. He then

acknowledged that he had let Nancy down.

        45.   Nancy understood, agreed, and relied on Ed’s promise that he was going

to transfer stock in the Agency to her, and he was simply waiting on his attorney or

accountant to determine the best way to proceed.

        46.   Nancy believed that Ed intended to transfer forty percent of the stock in

the Agency to her, and this promise induced her to continue working for the Agency

even after Ed decided not to retire in 2003.

        47.   Ed also acknowledged that his breach of the prior agreement to transfer

the Agency to Nancy by the age of 62, upon which she had relied since 1983, was “not

what you want to hear.”



                                            9
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 10 of 62         PageID #: 10




        48.   On the same day, April 18, 2003, Ed gave Nancy another handwritten

document with similar promises and agreements, which he signed (hereinafter

referred to as “the Second Batal Writing”).

        49.   The Second Batal Writing reiterated that, in the event the income of the

Agency grew over time, Ed would freeze the price of the Agency so that it was not the

industry standard of twice the previous year’s income, but twice the income level in

2002.

        50.   Because Ed did not address in either the First or Second Batal Writing

what would happen if the Agency’s income decreased over time, the concept of freezing

the value at two times 2002 income was not a material term to the parties’ agreement.

Alternatively, the term agreed to by the parties of selling the Agency for twice the

previous year’s income was not dependent on the 2002 income level.

        51.   The material term of the Second Batal Writing, and the consideration or

inducement for Nancy’s continued work for the Agency, was as follows: “I want you to

own or have the Batal Agency as soon as I do not need any more. No one will ever own

the Batal [Agency] other than Ed B. or Nancy B.”

        52.   After their meeting on or about April 18, 2003, Nancy signed the First

Batal Writing. Thereafter, she wrote a note on the top of the First Batal Writing that

reiterated the terms discussed: “Freeze price @ 900,000.”

        53.   Nancy also wrote notes to herself about the discussion with her father,

and the promises he made during their meeting. For example, Nancy wrote: “If we

don’t predetermine value, will my purchase price go up”?



                                          10
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 11 of 62           PageID #: 11




      54.    Nancy’s notes also discuss “scenarios” about the transfer of stock, stating:

“This is Charlie’s way.”

      55.    Nancy also wrote a note stating: “You can give inheritance tax free.”

      56.    Nancy made copies of the First and Second Batal Writings.

      57.    On or about April 19, 2012, Nancy gave Ed a copy of the Second Batal

Writing and made a note that she has provided Ed with a copy of the document on the

top right-hand corner.

      58.    Nancy provided Ed with a copy of the Second Batal Writing in 2012

because she wanted to remind him of the promise that no one else would ever own the

Agency.

      59.    In reliance on her father’s promises, Nancy continued to work for the

Agency while Ed derived significant income from the Agency even though he

performed no work or business generation to earn that income.

      60.    In reliance on her father’s promises, Nancy worked hard and provided

her father with an ongoing stream of income. Nancy’s reliance on her father’s promises

were detrimental to her, because she could have left the Agency and taken all of her

clients/customers with her at any time.

      61.    Alternatively, Nancy and Ed entered into a valid and binding contract,

with a meeting of the minds as to all material terms and a mutual assent to be bound,

for Nancy to continue performing work for the Agency in exchange for future

ownership and control.




                                           11
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 12 of 62         PageID #: 12




      62.    Nancy relied on and was induced by Ed’s promises to continue working

for the Agency, foregoing other business and income pursuits, in exchange for the

promise that she would one day own the Agency for a reasonable price.

      63.    Although Ed performed little or no work as an insurance agent or

business generator for the Agency between the 1990s and 2017, Ed had financial

control over the Agency during that period.

      64.    Between the 1990s and 2017, Ed deprived Nancy of the independent

judgment and discretion to exercise control over the financial management of the

Agency, including bookkeeping and high-level management decisions.

      65.    Ed handled the bookkeeping and finances for the Agency, even in years

when he was traveling abroad, until 2017 when his health declined, and he could no

longer perform any work.

      66.    Prior to 2017, during Christmas dinners for Agency employees and on

other occasions, Ed told everyone present that “this [the Agency] will all be Nancy’s

someday.”

 MISCLASSIFICATION OF NANCY AS AN INDEPENDENT CONTRACTOR

      67.    Prior to 2013, Nancy worked for Samia Realty of Maine as a realtor while

she also worked for the Agency.

      68.    In 2013, Ed demanded that Nancy give up her separate job as a realtor

and focus her efforts exclusively on the Agency.

      69.    Marilyn had a longstanding pattern of trying to deprive Nancy of profits,

earnings, and benefits that she was rightfully owed.



                                          12
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 13 of 62           PageID #: 13




      70.    Because Ed was gone most of the time, Marilyn asked another employee

of the Agency, Donna Shaw, with whom Marilyn had a close personal relationship, to

keep track of Nancy’s hours worked, time in the office, vacations or days off, and lunch

breaks, thereby destroying the salary basis test.

      71.    Between November 2015 and the date of her termination in December of

2015, Nancy worked an average of roughly 10 hours of overtime each week, but she

was never paid overtime.

      72.    Although Nancy was the only significant producer of insurance business

at the Agency, and Ed did not do any real work on a day-to-day basis, his bizarre

control over the Agency deprived Nancy of independent judgment and discretion on

matters of significance at the Agency.

      73.    For instance, Nancy repeatedly recommended that the Agency invest

more in technology and an online presence to modernize the business and attract

clients. Nancy knew that the Agency would lose money year after year if these steps

were not taken, but Ed refused.

      74.    In refusing to grow the Agency’s online presence and technology, Ed not

only deprived Nancy of independent judgment and discretion, but he also interfered

with the profits owed to Nancy pursuant to their longstanding agreements.

      75.    Regardless of whether Nancy met an exemption from the requirement to

pay overtime under the administrative duties test or any other basis, no such

exemption applies to Nancy’s employment because Defendants intentionally

misclassified her as an independent contractor rather than an employee, to defraud



                                          13
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 14 of 62        PageID #: 14




her of benefits and overtime and defraud the U.S. Government of employer-paid

payroll taxes.

      76.    Because the Agency was not paying its portion of payroll taxes for

Nancy’s employment, she had to pay an extra 7.5% in taxes on her wages for more

than thirty years of employment, which the Agency should have paid.

      77.    The Agency engaged in the RICO predicate acts of mail fraud and/or wire

fraud on a repeated, regular basis in filing tax returns, processing W-2s for other

employees besides Nancy, and misrepresenting the status of Nancy’s employment to

the IRS out of greed.

      78.    Defendant Batal Corp., by and through its co-conspirators Ed and

Marilyn Batal, who aided and abetted the fraud described herein, knowingly conspired

together to defraud Nancy by misclassifying her as an independent contractor rather

than an employee, causing her to suffer not only lost wages and bonuses, but employee

benefits, retirement plan compensation, and fringe benefits such as mileage

reimbursement as well.

      79.    For years, Defendant Marilyn Batal encouraged or demanded that Ed

pay Nancy less money, to misclassify her as an independent contractor rather than an

employee, to leave Nancy out of the Edward B. Batal Defined Contribution Plan,

and/or to sell the Agency to someone other than Nancy.

      80.    Ed knew that Nancy was not properly classified as an independent

contractor. Upon information and belief, when Ed sold insurance for Nationwide, he

did so as an independent contractor. This arrangement is typical in the insurance



                                         14
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 15 of 62          PageID #: 15




industry. The independent contractor working for the insurance company is free to

hire staff and obtain independent office space, supplies, and separate resources to run

their own independent agency, which Ed did. The people working for the agency,

however, are employees. While the insurance company may provide the same forms

and support for all independent contractor agencies, this does not make the agents

themselves employed by the insurance company. Ed knew of this distinction between

independent contractor agencies and the people who worked in the Agency that he

started in the 1960s, including Nancy.

      81.    The scenario where insurance agents are properly classified as

independent contractors stands in sharp contrast to Nancy’s employment with the

Batal Agency. Nancy was employed by the Agency, not the insurance companies for

whom she sold insurance. Nancy did not hire her own staff, purchase her own supplies,

open her own office, or control her own finances or high-level business operations. In

addition, Nancy’s hours and places of employment were repeatedly controlled and

tracked by the Agency, with Donna Shaw acting as an agent of Ed and Marilyn Batal.

      82.    According to the 2015 W-2s issued by the Batal Corp., the Agency had 4

employees in 2015: Edward B. Batal, Theresa Murphy, Donna Shaw, and Emily

Sheffield.

      83.    Nancy received a 1099 from the Agency in 2015, reflecting $67,780.00 in

income.

      84.    According to the 2016 W-2s issued by the Batal Corp., the Agency had 3

employees in 2016: Edward B. Batal, Theresa Murphy, and Donna Shaw.



                                          15
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 16 of 62        PageID #: 16




      85.    Nancy received a 1099 from the Agency in 2016, reflecting $70,102.50 in

income.

      86.    By the middle of 2017, Ed was ill and no longer capable of handling the

finances or other high-level decision making for the Agency.

      87.    Although neither an employee nor an officer of Batal Corp., Marilyn

Batal took over bookkeeping for the Agency in 2017 rather than allowing Nancy to

perform this function.

      88.    By the middle of 2017, Ed and Nancy’s communications had broken down

irretrievably. Ed typically would not speak to Nancy, which Marilyn said was because

Nancy “upset” Ed.

      89.    When Ed insisted on speaking with his daughter, despite Marilyn’s

interference, Marilyn drove Ed to the Agency where Nancy met him outside in the car

to communicate privately.

      90.    Aside from these meetings in the car, Marilyn controlled all other

communications by and between Ed and Nancy in 2017.

      91.    Upon information and belief, Marilyn worked tirelessly on Ed to convince

him that Nancy was incompetent or otherwise undeserving of just compensation and

that she was incapable of running the Agency.

      92.    In the middle of 2017, Nancy realized that she had been improperly

classified as an independent contractor instead of an employee and if Marilyn

convinced Ed to fire her, Nancy would never be able to collect unemployment. Nancy




                                         16
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 17 of 62         PageID #: 17




therefore called the payroll company and changed her classification within the Agency

from independent contractor to employee.

      93.    For the first part of 2017, Nancy received 1099 income from the Agency,

in the total amount of $45,332.90.

      94.    According to the 2017 W-2s issued by the Batal Corp., the Agency had 4

employees in 2017: Edward B. Batal, Theresa Murphy, Donna Shaw, and Nancy

Batal-Sholler.

      95.    Nancy’s W-2 wages for the second part of 2017 amounted to $33,923.19.

      96.    Nancy’s overall compensation in 2017 was $79,256.09.

      97.    In the 5 weeks between November 22, 2015 and December 31, 2015,

Nancy worked an average of 10 hours of unpaid overtime per week. With an annual

salary of $67,780, divided by 52 weeks, divided by 40 hours per week, Nancy’s regular

rate of pay for purposes of calculating unpaid overtime in 2015 was $32.59. Multiplied

by 1.5, Nancy’s overtime rate for these 5 weeks in 2015 was $48.87. Multiplied by 10

hours per week, Nancy’s unpaid overtime for 2015 amounts to $2,443.50.

      98.    In 2016, Nancy’s income was $70,102.50. Nancy worked an average of 10

hours of unpaid overtime per week in 2016. With an annual salary of $70,102.50,

divided by 52 weeks, divided by 40 hours per week, Nancy’s regular rate of pay for

purposes of calculating unpaid overtime was $33.70. Multiplied by 1.5, Nancy’s

overtime rate for 2016 was $50.55. Multiplied by 10 hours per week, and 50 weeks out

of the year (discounting 2 weeks of vacation), Nancy’s unpaid overtime for 2016

amounts to $25,275.00.



                                         17
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 18 of 62          PageID #: 18




      99.      In 2017, Nancy’s income was $79,256.09. Nancy worked an average of 10

hours of unpaid overtime per week in 2017. With an annual salary of $79,256.09,

divided by 52 weeks, divided by 40 hours per week, Nancy’s regular rate of pay for

purposes of calculating unpaid overtime was $38.10. Multiplied by 1.5, Nancy’s

overtime rate for 2017 was $57.15. Multiplied by 10 hours per week, and 50 weeks out

of the year (discounting 2 weeks of vacation), Nancy’s unpaid overtime for 2017

amounts to $28,575.00.

      100.     The estimated unpaid overtime from 2015 to the end of Nancy’s

employment with the Agency is approximately $56,293.50, multiplied by either two

for the unpaid overtime violations alleged herein or by three for the unpaid minimum

wages alleged herein as a result of misclassifying Nancy as an independent contractor

instead of an employee.

      101.     Plaintiff is entitled to additional unpaid wages as a result of her

misclassification as an independent contractor, including 7.5% in payroll taxes that

she had to pay as a so-called self-employed individual, fringe benefits and mileage,

and other employee benefits.

         THE EDWARD B. BATAL DEFINED CONTRIBUTION PLAN

      102.     Upon information and belief, Ed started the Edward B. Batal Defined

Contribution Plan (“the Plan”), a single employer plan, in 1984.

      103.     According to the Plan’s Form 5500, in 2009 the Plan had 5 participants.

The Plan had income in the amount of $85,063 in 2009, for a total of $501,754 in assets

at year end.



                                           18
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 19 of 62          PageID #: 19




      104.     According to the Plan’s Form 5500, in 2010 the Plan had 5 participants.

The Plan had income in the amount of $83,333 in 2010, for a total of $567,310 in assets

at year end.

      105.     According to the Plan’s Form 5500, in 2011 the Plan had 5 participants.

The Plan had income in the amount of $29,068 in 2011. The Plan also paid benefits in

the amount of $23,394 in 2011. At year end, the Plan held assets in the amount of

$572,916.

      106.     According to the Plan’s Form 5500, in 2012 the Plan had 4 participants.

The Plan had income in the amount of $63,838 in 2012. The Plan also paid benefits in

the amount of $21,836 in 2012. At year end, the plan held assets in the amount of

$614,900.

      107.     According to the Plan’s Form 5500, in 2013 the Plan had 4 participants.

The Plan had income in the amount of $74,769 in 2013. The Plan also paid benefits in

the amount of $24,259 in 2013. At year end, the plan held assets in the amount of

$665,389.

      108.     According to the Plan’s Form 5500, in 2014 the Plan had 4 participants.

The Plan had income in the amount of only $5,154 in 2014. The Plan also paid benefits

in the amount of $27,145 in 2014. At year end, the plan held assets in the amount of

$643,368.

      109.     According to the Plan’s Form 5500, by the end of 2015, the Plan had 3

participants. The Plan had income in the amount of $15,007 in 2015. The Plan also




                                           19
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 20 of 62         PageID #: 20




paid benefits in the amount of $35,965 in 2015. At year end, the plan held assets in

the amount of $622,330.

      110.   According to the Plan’s Form 5500, by the end of 2016, the Plan had 2

participants. The Plan had income in the amount of $88,608 in 2016. The Plan also

paid benefits in the amount of $27,764 in 2015. At year end, the plan held assets in

the amount of $683,174.

      111.   According to the Plan’s Form 5500, the Plan had 2 participants in 2017.

The Plan had income in the amount of $54,702 in 2017. The Plan also paid benefits in

the amount of $31,651 in 2017. At year end, the plan held assets in the amount of

$706,225.

      112.   According to the Plan’s Form 5500, the Plan had 2 participants in 2018.

The Plan suffered a loss of $77,308 in 2018. The Plan also paid benefits in the amount

of $34,079 in 2018. At year end, the Plan held assets in the amount of $594,838.

      113.   Edward B. Batal died on March 24, 2019.

      114.   Between 2009 and 2018, Ed acted as the Plan administrator.

      115.   In 2019, Marilyn Batal acted as the Plan administrator.

      116.   Upon information and belief, Ed and/or Marilyn Batal also acted as the

trustee(s) of the Plan.

      117.   Upon information and belief, Ed allowed Marilyn Batal to participate in

the Plan, even though she was not an employee of Batal Corp.

      118.   According to the Plan’s Form 5500, the Plan had 2 participants at the

beginning of 2019 and zero participants at the end of 2019. The Plan had income in



                                         20
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 21 of 62           PageID #: 21




the amount of $11,616 in 2019. The Plan also paid benefits in the amount of $16,491

in 2019.

        119.   Marilyn Batal transferred the remaining $589,963 out of the Plan in

2019.

        120.   Upon information and belief, Marilyn Batal transferred the remaining

assets in the Plan to the estate of Edward Batal and/or the Batal Family Living Trust

in order to shield those assets from Nancy, who should have been a participant in the

Plan.

        121.   Upon information and belief, Ed and/or Marilyn Batal breached their

fiduciary duties to Plan participants, including Nancy who should have been classified

as an employee and a Plan participant.

        122.   Upon information and belief, Ed and/or Marilyn Batal failed to provide

Plan participants, which should have included Nancy, with plan documents including

summary plan descriptions, summaries of material modifications, summary annual

reports, trust agreements, annual notices, and service provider disclosures.

        123.   Upon information and belief, Ed and/or Marilyn Batal, and/or Batal

Corp., improperly acted as trustee of the Plan and failed to treat the assets of the Plan

as owned by the participants.

        124.   Instead, upon information and belief, Ed and/or Marilyn Batal, and/or

Batal Corp., treated the Plan as their own personal bank account, thereby ignoring all

of the fiduciary and trust principles applicable to a defined contribution plan under

ERISA.



                                           21
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 22 of 62           PageID #: 22




      125.   Defendants violated the exclusive benefit rule applicable to the Plan

assets, by failing to act with undivided loyalty to the Plan, and instead acting in their

own interest instead.

      126.   As an employee of Batal Corp., Nancy was a participant in the Plan and

should have been given the opportunity to make contributions to the Plan for the

duration of her employment and receive notices from the Plan.

      127.   Upon information and belief, even in years when other employees (for

example, Donna Shaw) did not make contributions to their 401k, Ed would make

contributions toward the Plan for employees as a bonus if the Agency had a good year.

      128.   One or more of the Defendants breached their fiduciary duty to Plan

participants by failing to make sound investment decisions regarding Plan assets,

causing the Plan to sustain unreasonable losses.

      129.   Upon information and belief, Defendants did not take proper steps under

the Plan or related trust agreements to provide notice to participants in 2019, or to

properly terminate or rollover the Plan assets.

     SALE OF THE AGENCY/MISAPPROPRIATION OF TRADE SECETS

      130.   By early 2017, Nancy and Ed’s relationship was strained. In addition to

Ed’s health declining, Marilyn repeatedly made false and defamatory statements to

Ed about Nancy. For instance, Marilyn would tell Ed that Nancy was on vacation all

the time, or that she was not working hard enough. Marilyn repeatedly urged Ed to

pay Nancy less and she convinced Ed he should not sell the Agency to Nancy.




                                           22
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 23 of 62           PageID #: 23




      131.   During her deposition in the YCSC action, Marilyn claimed that Nancy

was “not interested in insurance” and she was “not doing the job” that Ed felt she was

“hired to do.”

      132.   Marilyn admitted at her deposition that Ed did not have “full capacity”

when he was “a very sick man” toward the end of his life. She also testified that

“nobody realized how sick he was except me.”

      133.   Marilyn testified at her deposition that Ed wished he had hired “a man”

to manage the Agency instead of Nancy, because “he loved his daughter and he would

rather have seen her just be a clerk in the office.”

      134.   Marilyn claimed at her deposition that she was never an employee of the

Batal Agency, but upon information and belief she was paid by the Agency regardless

of whether or to what extent she performed work.

      135.   Marilyn testified at her deposition that Ed was afraid if he sold the

Agency to Nancy he would not get paid.

      136.   Marilyn also testified under oath that Ed was “paying too much to

Nancy.”

      137.   Ed’s attorney, Jessie Krall, testified that he had “good days” and “really

bad days” in terms of capacity.

      138.   On May 3, 2017, Marilyn made misrepresentations of material facts to

Nancy via text message, stating as follows: “Nancy. I feel so bad that you and dad have

differences [I] know he is loud and hollers and [I] get it all the time but [I] just walk

away and attribute it to his sickness. Some days [i] feel he is not going to make it then



                                           23
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 24 of 62         PageID #: 24




it turns around. It is very hard on a person. I think you two have to make amends and

talk about selling the business. It is hard on both of you. Your stress shows and [I]

love you like a daughter and it hurts. He is a man and they are different.”

      139.     This May 3, 2017 text contained false and misleading statements,

including that Marilyn was contacting Nancy out of “love.” In reality, Marilyn was

trying to induce Nancy to “make amends” with her father by agreeing to let him sell

the business to another party, despite their longstanding agreement that no one else

would ever own the Batal Agency.

      140.     Marilyn wanted Ed to sell the Agency to someone other than Nancy

because a sale to another party would be more profitable. A sale to another party

would enable Marilyn to avoid having to negotiate or confront the following issues

with Nancy: (A) how much her own contributions to the company’s profits should be

credited against the purchase price; (B) how to determine the purchase price for the

Agency when Ed had promised Nancy he would “freeze” the price at twice the profits

in 2003 ($450,000, for a total of $900,000), which did not amount to a concrete price

term in 2017; (C) how much Nancy should be compensated for her client list and book

of insurance business, which she alone had developed since the 1990s; (D) how to

handle Ed’s previous promise to transfer forty percent of the stock of the Agency to

Nancy, meaning her purchase price for the Agency should be discounted by forty

percent; and (E) how to handle the problem of Nancy finding out the Agency had a

401k Plan with more than $600,000 in assets, in which she had not been allowed to

participate.



                                          24
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 25 of 62           PageID #: 25




      141.   After the above text exchange in May of 2017, Nancy met with Marilyn

in person and showed her the handwritten agreements between her and Ed from 2003.

By mid-2017, Marilyn had knowledge of these written promises and/or contract

documents. Nancy offered to provide Marilyn with a copy of the documents, but

Marilyn refused to take a copy.

      142.   On August 2, 2017, Marilyn texted Nancy, “Your dad has kidney failure”

and: “You and [I] have to get together and talk.”

      143.   In August of 2017, Nancy received an anonymous letter that stated as

follows: “Nancy, I am very curious about something. I have been hearing The Batal

Agency is closing at the end of December this year. I have heard it from several people.

I’ve seen who I think is Donna and an older lady in Aroma Joe’s (named Marilyn was

mentioned I think. Hard to hear in there) on several occasions when I go in on

Saturday to get my coffee before I head off to work. I was listening when maybe I

shouldn’t have been but like I said I was curious. I thought I heard you were going to

buy the business but still it would be closing. Neither of them had anything good to

say about you or the business and would be happy when it closed. Is all this correct?

Will you be sending out something so we as customers can start looking around?”

      144.   In early November of 2017, Marilyn and Nancy discussed the sale of the

business. Marilyn then texted Nancy: “Not sure why but [I] told your father we talked

and he was ugly said you keep out of it. Nancy needs to come talk to me so therefore

[I] cannot talk anymore. He made that perfectly clear by hollering at me. He said [I]




                                          25
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 26 of 62            PageID #: 26




am closing that place. One day he says one thing the next something else. I am sorry

for you and me.”

      145.    Throughout November of 2017, Nancy and Marilyn exchanged text

messages about getting Nancy and Ed together to discuss the sale of the business.

Marilyn told Nancy there were potential buyers for the Agency and claimed to be “in

the middle” of a dispute between Ed and Nancy.

      146.    Marilyn’s claim that she was “in the middle” of a dispute between Ed and

Nancy was false and intended to fraudulently induce inaction on Nancy’s part, because

Marilyn was working behind the scenes to ensure that Nancy could not purchase the

Agency. Marilyn knew that Ed was either contemplating selling, had been convinced

by her to sell, or was in the process of selling the Agency to another party by this time,

yet she misrepresented this information to Nancy in conversations and by omission.

      147.    Marilyn told Nancy that she should meet with Ed soon to discuss buying

the Agency.

      148.    Within a week, Nancy texted Marilyn asking for a proposed price and the

terms of sale for the Agency.

      149.    Marilyn said she would “look up figures for the old boy and go from

there.” When Nancy responded by asking what was being offered to other potential

buyers for the Agency, Marilyn misled Nancy into believing there had not been a price

set and “they are just in a talking stage.”

      150.    The same day, on November 28, 2017, Marilyn wrote the following text

to Nancy: “I just talked to dad. He is feeling so much better that at this point in his



                                              26
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 27 of 62           PageID #: 27




life. He is not sure he wants to sell. He is intended to continue to run the business as

a sole proprietorship as he has in the past. He intends to restructure the business so

he can pay the new overhead per current income Dad feels with the current expense

[structure] he will be unable to maintain current expenses. Dad feels you should be

looking for a new job with someone that can afford to pay your salary. These words he

just quoted to me. Sorry.”

      151.   Nancy responded to the above text by asking if her father intended to let

Donna Shaw go too. Marilyn responded: “He said he is thinking. She wants to retire

anyway. He is real grumpy.”

      152.   Nancy responded to Marilyn: “This is ludicrous we all know he is NOT

better. When would he like to meet?” Marilyn did not respond to this text.

      153.   On December 12, 2017, Nancy tried to speak to her father directly. Nancy

texted Marilyn recounting that she had called Ed to set up an appointment, “and he

immediately became combative and called me a lazy Scottish Jew and had nothing to

discuss with me but criticism.” Nancy also said, “I’m open to have a civil conversation

even if it requires a mediator. Whether he choses to believe it or not we are no longer

in an industrial era but rather information era and people get their info from the

internet. Commissions have been cut, clients buy differently. I have always put the

business first and can continue to do so if treated properly. I can no longer have empty

promises and keep my life on hold.”




                                          27
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 28 of 62              PageID #: 28




       154.   In a separate text the same day, Nancy said to Marilyn: “Based on

correspondence and discussions I understand my last date of employment is 12/31/17.

Please confirm.”

       155.   Marilyn responded, “Oh Nancy. I wish [I] could understand your father.

I have given up. I told him [I] was not getting involved anymore. He drives me nutty.

He said you called and wanted to get together [I[ will show him your email and hope

you two can talk.”

       156.   Marilyn also claimed via text that: “What he is saying to me is in anger.

I told him to wait a few [hours] before he responds. He did say he cannot talk to you

because you cry and he said he did not say those things. I was not here. Either you

have to call him or [I] will repeat to you later what he says. Sorry. I hate this . . . . He

said he wishes you and David a wonderful life in Fl because he said he imagines that

is where you are heading.”

       157.   Marilyn’s final text to Nancy on December 12, 2017 confirmed that Nancy

was being terminated effective December 31, 2017: “He said you two cannot talk[.] He

never knows where you are going or when so therefore yes the 31st is it. I can do

nothing. I don’t like being in the middle.”

       158.   Nancy left the Agency at the end of 2017 with no information to suggest

that Ed was planning on selling it to another party. Instead, Nancy expected that her

father would realize he (or Marilyn on his behalf) could not run the Agency and he

would need her back.




                                              28
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 29 of 62           PageID #: 29




      159.    Alternatively, Nancy expected that Ed would pass away in the early part

of 2018, during which time Ed refused to speak to her.

      160.    Nancy continued to wait for her father’s call through January, February,

and March of 2018. Instead, she received a call from Ed’s lawyer, Jessie Krall, in early

April of 2018 asking her to sign a non-compete agreement to “fast track” the sale of

the Agency.

      161.    At the time, Nancy had been fired from the Agency and did not have a

non-compete in place.

      162.    During their phone conversation in early April 2018, Nancy immediately

informed Attorney Krall that she had been promised the Agency would be hers, no one

would ever own the Agency but her (or Ed), and/or she had a forty percent ownership

share in the Agency.

      163.    Nancy later emailed the handwritten promises and/or contracts between

her and Ed to Attorney Krall.

      164.    At the end of April 2018, Nancy received a form letter jointly sent by the

Batal Agency and Curley Associates. The letter was dated April 25, 2018, and

informed Nancy as a client of the Agency that the two entities were merging.

      165.    In terminating Nancy’s employment and selling the list of clients that

Nancy had worked for more than thirty years to develop, Defendants engaged in

blatant trade secret violations that they knew would be a misappropriation of Nancy’s

intellectual and intangible property.




                                           29
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 30 of 62              PageID #: 30




       166.   Along with Defendants, Timothy Curley of Curley Associates in Sanford

(“Curley”) knew that Nancy was the rightful owner of her entire book of business and

the Agency that she worked to develop while her father was absent from the business

virtually every day.

       167.   The client list and proprietary information that Ed, Marilyn, and/or

Batal Corp. sold to Curley belonged to Nancy, not Defendants.

       168.   Alternatively, even if the entire client list, goodwill, and proprietary

information connected to the Agency was not entirely owned by Nancy, she was

entitled to at least forty percent of the Agency in connection with the sale.

       169.   Because the Agency robbed Nancy of her entire client list and other trade

secrets that she can never get back, she has been economically harmed by having her

life’s work and a career spanning more than thirty years destroyed.

       170.   Due to Defendants’ wrongful actions, including misappropriation of trade

secrets, Nancy is now deprived of any ability to earn a living at her prior level. The

hard work and decades of time she put in to building the Batal Agency, which she

expected would be hers someday, along with all of its clients, has vanished.

       171.   Upon information and belief, Ed was in negotiations with Curley to

purchase the Agency as early as December 2017 or January 2018, because a draft of

the closing agenda lists January 6, 2018 as the proposed closing date.

       172.   In February and March of 2018, Ed, Marilyn, and/or Batal Corp.

continued to negotiate the sale of the Agency to Curley, knowing all along that Nancy

had a legal right to her client list and other intellectual property, a legal right to forty



                                            30
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 31 of 62           PageID #: 31




percent of stock in the company, and/or the guaranteed legal right to purchase the

Agency instead of Curley.

         173.   Meanwhile, in March of 2018, Ed and/or Marilyn hired Attorney Krall to

not only steal the Agency from Nancy, but to also disinherit her from Ed’s will.

         174.   The disinheritance was accomplished by Attorney Krall’s creation of the

Batal Family Living Trust, into which she assisted Defendants with the transfer of

multiple pieces of real property owned by Ed and/or Marilyn.

         175.   Contemporaneous with negotiating the sale of the Agency to Curley

instead of Nancy, on or about March 21, 2018, Defendants transferred most of the real

estate owned by Ed, Marilyn, and/or the Batal Agency into the Batal Family Living

Trust.

         176.   On or about March 21, 2018, Ed signed a new will that left Nancy out of

the Batal Family Living Trust.

         177.   When Ed and Marilyn transferred their assets to the Batal Family Living

Trust, they did so for the express purpose of shielding any assets that Nancy may be

able to collect if she eventually sued them for all of the reasons stated herein, as well

as the reasons set forth in the YCSC action.

         178.   On March 22, 2018, the very next day after Ed changed his will to

disinherit Nancy, and while he was involved in fraudulently transferring all property

owned by him and Marilyn into the Batal Family Living Trust, Ed and Curley came

to terms on a proposed purchase and sale agreement for the Agency.




                                            31
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 32 of 62          PageID #: 32




      179.   Ed and Curley agreed on a proposed purchase price of $335,000 for all

assets of the Agency, with the owner (Ed and Marilyn Batal) financing the transaction.

      180.   The Batal Agency tried to include a non-compete in the closing

documents that would prohibit Nancy from doing any insurance sales, even though

she received nothing in consideration for selling the Agency, including her entire book

of business, to Curley.

      181.   Alternatively, Curley insisted on a non-compete with Nancy if she

wanted to “hang” her license at “his” agency.

      182.   On or about April 6, 2018, Ed and Marilyn Batal’s attorney, Jessie Krall,

called Nancy to ask if she would sign a non-compete, or if she wanted to “hang” her

license at the new Curley agency.

      183.   Attorney Krall discussed new language “about Nancy” in the closing

documents on April 6, 2018, informing Curley and his counsel that: “Ed is not worried

about making sure [Nancy] hangs her license anywhere at this point…with the new

language regarding commissions and Nancy, we should be able to close this next

week.”

      184.   Later that day, Attorney Krall emailed Curley as follows: “Tim, thank

you for offering but please do not call Nancy. Ed changed his mind about contacting

her and he will suffer consequences. He doesn’t want to stir the pot right now.”

      185.   The closing of the asset purchase and sale between the Batal Agency and

Curley occurred on April 13, 2018.

      186.   The assets that Defendants transferred to Curley included the following:



                                          32
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 33 of 62           PageID #: 33




             All business assets, equipment, furniture, photocopiers,
      computers, software, other electronic devices, machinery, customer lists,
      tradenames, telephone and fax numbers, numbers, websites, email
      addresses, post office boxes, and tangible personal property, including
      but not limited to the following: all insurance policy renewals; all
      customer lists of the Batal Agency; all information and records relating
      or pertaining to such policy renewals and customer lists, including but
      not limited to all Seller's files, lists, information, billing and payment
      histories, and records; and the name “Batal Insurance Agency” and all
      other names (including but not limited to domain names) used by Seller
      in any way in connection with the Insurance Business.


      187.   In May of 2018, with the future of her career and insurance license

uncertain, Nancy reached out to another agency, Spence and Mathews, to see if she

could hang her license there and reach out, using Spence and Mathews letterhead, to

all of the clients Defendants stole from her.

      188.   Initially, Spence and Mathews agreed to let Nancy send letters to her

former clients on their letterhead, but said they needed to check with legal counsel.

      189.   In July of 2018, Spence and Mathews informed Nancy that the company

did not feel comfortable hiring her or allow marketing of her client list on Spence and

Mathews’ letterhead, out of fear that Curley would sue the agency.

                   FRAUD AND FRAUDULENT TRANSFERS

      190.   The sale of the Agency from Ed to Curley was itself a fraudulent transfer

that is avoidable as to both Defendants and Curley, because Curley was aware of the

claim that Nancy had against Defendants as described herein.

      191.   Ed, Nancy, and/or the Batal Family Living Trust engaged in the

following fraudulent transfers initiated in March of 2018 prior to finalizing the sale of

the Agency, for the sole purpose of defrauding Nancy and shielding assets from her.

                                           33
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 34 of 62          PageID #: 34




As of March 2018, Nancy was a known creditor with a claim against Defendants for

all of the reasons discussed herein. Defendants knew that Nancy was about to find out

the Agency she had been promised, her entire client list, and other goodwill and

intangible/intellectual property was about to vanish as part of the sale of the Agency

to Curley. As a result, Defendants moved quickly to fraudulent transfer assets as the

sale of the Agency was being finalized. The fraudulent transfers including at least the

following:

      A.     392 Hanson’s Ridge Road, Springvale, Maine: On or about March

             21, 2018, by and through his counsel Jessie Krall, Ed conveyed his

             primary residence located at 392 Hanson’s Ridge Road in Springvale to

             Edward B. Batal, Sr. and Marilyn L. Batal, as trustees of the Batal

             Family Living Trust. The current assessed value of this property is

             $374,800. Upon information and belief, no value was paid in exchange

             for this transfer.

      B.     1580 Main Street, Sanford, Maine: On or about April 6, 2018, by and

             through his counsel Jessie Krall, Ed conveyed this property to Edward

             B. Batal, Sr. and Marilyn L. Batal, as trustees of the Batal Family Living

             Trust. The current assessed value of this property is $151,400. Upon

             information and belief, no value was paid in exchange for this transfer.

      C.     985 Main Street, Sanford, Maine: On April 6, 2018, Ed, by and

             through his counsel Jessie Krall, conveyed this property to Edward B.

             Batal, Sr. and Marilyn L. Batal, trustees of the Batal Family Living



                                          34
Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 35 of 62        PageID #: 35




          Trust. Upon information and belief, no value was paid in exchange for

          this transfer.

    D.    After an attachment entered in the YCSC action was vacated, as

          discussed below, the Batal Family Living Trust conveyed the property

          located at 985 Main Street in Sanford to RBBJM Realty Trust for a

          purchase price of $75,000 on or about October 7, 2020. The current

          assessed value of this property is $144,700.

    E.    987 Main Street, Sanford, Maine: On April 6, 2018, Ed and Marilyn,

          by and through their counsel Jessie Krall, conveyed this property to

          Edward B. Batal, Sr. and Marilyn L. Batal, as trustees of the Batal

          Family Living Trust. The current assessed value of this property is

          $128,100. Upon information and belief, no value was paid in exchange

          for this transfer.

    F.    After an attachment entered in the YCSC action was vacated, as

          discussed below, the Batal Family Living Trust conveyed the property

          located at 987 Main Street in Sanford to RBBJM Realty Trust for a

          purchase price of $175,000 on or about October 7, 2020.

    G.    1 Park Street, Sanford, Maine: On April 6, 2018, Ed and Marilyn, by

          and through their counsel Jessie Krall, conveyed this property to Edward

          B. Batal, Sr. and Marilyn L. Batal, as trustees of the Batal Family Living

          Trust. Upon information and belief, no value was paid in exchange for

          this transfer.



                                       35
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 36 of 62        PageID #: 36




      H.     After an attachment entered in the YCSC action was vacated, as

             discussed below, the Batal Family Living Trust conveyed the property

             located at 1 Park Street in Sanford to RBBJM Realty Trust for a purchase

             price of $75,000 on or about October 7, 2020

      I.     952 Post Road, Unit 8, Wells, Maine: On or about October 15, 2020,

             Marilyn Batal, as Personal Representative of Ed’s estate, sold a

             condominium located at 952 Post Road, Unit 8, in Wells, Maine to Lion

             Holdings, LLC for a purchase price of $90,000.

      J.     Weymouth Street, Sanford, Maine: On or about February 21, 2019,

             Ed conveyed by and through his counsel, Jessie Krall, an undivided one-

             half interest in the property he jointly owned with Nancy’s husband,

             David Sholler.

      192.   Plaintiff filed suit against her father in the YCSC on July 20, 2018,

alleging breach of contract, unjust enrichment, and quantum meruit.

      193.   On or about July 23, 2018, Plaintiff—by and through previous counsel in

the YCSC action—obtained an ex parte order of attachment and trustee process

against the assets, property, goods, and credits belonging to Ed, in the amount of

$500,000.

      194.   The order of attachment encumbered five parcels of real estate that

Defendants had previously transferred to the Batal Family Living Trust, as described

above. Those properties included 392 Hanson’s Ridge Road in Springvale; 1580 Main




                                         36
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 37 of 62         PageID #: 37




Street in Sanford; 985 Main Street in Sanford; 987 Main Street in Sanford; and 1 Park

Street in Sanford.

      195.   The total value of the foregoing real property that had been fraudulent

placed into the Batal Family Living Trust exceeded the $500,000 attachment granted

by the YCSC. Therefore, by and through his counsel Jessie Krall, Ed filed a motion on

August 13, 2018 with the YCSC to have the attachment modified so that only the

properties located at 392 Hanson’s Ridge Road in Springvale, 1580 Main Street in

Sanford, and 985 Main Street in Sanford would be subject to the attachment. The

YCSC granted that motion and limited the attachment as requested.

      196.   Attorney Krall testified in the YCSC action that she met Ed in December

of 2017, and by that time he was not doing well. Ed had good days and really bad days;

on the bad days, he was confused.

      197.   Attorney Krall also testified that by December of 2017, Ed had already

negotiated the terms of the sale of the Agency to Curley.

      198.   As discovery progressed in the YCSC action, Nancy produced documents

by and through her attorney, including the First and Second Batal Writing described

above. After she met with Ed in April of 2003, Nancy wrote “freeze price at $900,000”

in the top corner of the First Batal Writing.

      199.   Upon information and belief, and without waiving the attorney client

privilege between Nancy and her prior counsel, Nancy told her prior counsel that she

could not remember when she wrote the “freeze price at $900,000” note on the First




                                           37
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 38 of 62           PageID #: 38




Batal Writing, but she thought she wrote it on a copy, not the original, and she wrote

the note after meeting with Ed.

      200.   Based on the foregoing, and because the “freeze price at $900,000” note

that Nancy wrote was not part of the original agreement between the parties, Nancy’s

prior counsel redacted her handwritten note on the document in filing the original

YCSC complaint and motion for ex parte attachment.

      201.   Nancy’s handwritten note on the First Batal Writing was inadmissible

under the parol evidence rule because it was written after the fact, and not part of the

agreement between the parties. Even if Nancy’s “freeze price at $900,000” note on the

First Batal Writing were admissible in the YCSC action, it would be entirely irrelevant

because it merely reiterates what appears in the First Batal Writing itself, where Ed

wrote: “Freeze the value of the Batal Agency at 2 times the 2002 income level.”

      202.   Nancy included her handwritten note on the First Batal Writing in

preparation for litigation, and therefore it was not admissible under M.R. Civ. P.

26(b)(5) during the YCSC action.

      203.   By the time of Nancy’s deposition, her prior counsel had produced the

unredacted First Batal Writing to Ed’s counsel in the YCSC action, Greg McCullough.

      204.   Nonetheless, Attorney McCullough filed a motion to vacate the

attachment that was entered (and amended) in the YCSC action, arguing without

merit that the July 28, 2018 ex parte order of attachment had been procured by

Plaintiff “committing a fraud on the court.”




                                          38
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 39 of 62          PageID #: 39




       205.   Attorney McCullough has made other absurd and incredible accusations

in the YCSC action, including that the “crime-fraud” exception to the attorney client

privilege entitles him to take the deposition of Nancy’s prior counsel. Attorney

McCullough’s incredible accusations included a letter from his client, Marilyn Batal,

falsely accusing the sitting YCSC justice of bias. Recently, the Superior Court justice

assigned to the YCSC action recused himself as a result of Attorney McCullough’s

incredible accusations.

       206.   Following Attorney McCullough’s absurd and incredible allegations in

the YCSC action, the Court vacated the attachment that had been modified in August

of 2018 to attach the three parcels of real property described above, for a total value

of over $500,000.

       207.   Attorney McCullough filed a Notice of Order Vacating Attachment in the

York County Registry of Deeds on or about June 3, 2020.

       208.   After the attachment was vacated, Attorney McCullough and/or Attorney

Krall assisted Defendants with the fraudulent transfers described above. Attorney

McCullough and Attorney Krall are both witnesses to the fraudulent transfers alleged

herein. The fraudulent transfers of property belonging to the Batal Family Living

Trust drained the trust of significant assets held by Defendants.

                    COUNT I – Civil RICO Act, 18 U.S.C. § 1962(a)
                                 (All Defendants)

       209.   Plaintiff repeats and realleges the facts stated in Paragraphs 1 through

208 as if fully set forth herein.




                                          39
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 40 of 62              PageID #: 40




       210.   Defendant     Marilyn    Batal,    individually   and    as   the   Personal

Representative of the Estate of her late husband Ed, along with Batal Corp. and the

Batal Family Living Trust, collectively engaged in or formed an enterprise, as defined

under the Federal RICO Act, which constituted an association in fact.

       211.   Defendants are “persons” within the meaning of 18 U.S.C. § 1961(3) who

participated, directly or indirectly, in the affairs of the enterprise designed specifically

to defraud Nancy of her clients, profits, wages, retirement, inheritance, property, and

the Agency itself.

       212.   Defendants received income derived, directly or indirectly, from a pattern

of racketeering activity, and then used or invested, directly or indirectly, such income

or the proceeds of such income, to acquire an interest in, operation of, or establishment

of, an enterprise that was engaged in racketeering activities that affected interstate

commerce.

       213.   Defendants’ racketeering activity affected interstate commerce.

       214.   Defendants engaged in two or more predicate acts under the RICO Act,

including but not limited to the following: 18 U.S.C. § 664: Embezzlement from

pension and welfare funds; 18 U.S.C. § 1341: Mail fraud; 18 U.S.C. § 1343: Wire fraud;

18 U.S.C. § 1344: Financial institution fraud; 18 U.S.C. § 1954: Unlawful welfare fund

payments; 18 USC § 1956: Money laundering; 18 U.S.C. §§ 1831 and 1832: Theft of

trade secrets and economic espionage.

       215.   Each of the aforementioned predicate RICO acts posed a threat of

ongoing criminal activity under Federal law.



                                            40
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 41 of 62             PageID #: 41




         216.   The Batal Corp. and/or the Batal Family Living Trust was a separate and

distinct entity that participated with Ed and/or Marilyn Batal to accomplish the

racketeering activity described herein.

         217.   Plaintiff suffered a financial and/or investment injury as a result of the

racketeering activity described herein. Plaintiff was injured in her business or

property as a result of the racketeering described herein.

         218.   There is a threat of ongoing racketeering activity by Defendants.

         219.   Because of Defendants’ RICO violations, Plaintiff is entitled to treble

damages and attorney’s fees under 18 U.S.C. § 1964.

         220.   RICO § 1964(a) also authorizes the Court to “prevent and restrain

violations of section 1962 of this chapter by issuing appropriate orders, including, but

not limited to: ordering any person to divest himself of any interest, direct or indirect,

in any enterprise; imposing reasonable restrictions on the future activities or

investments of any person, including, but not limited to, prohibiting any person from

engaging in the same type of endeavor as the enterprise engaged in, the activities of

which affect interstate or foreign commerce; or ordering dissolution or reorganization

of any enterprise, making due provision for the rights of innocent persons.”

         221.   Based on the above, Plaintiff seeks an “appropriate order” disgorging the

real estate, retirement plan income, retained wages, and all other profits illegally

gained by Defendants, as well as disgorgement or forfeiture of any proceeds of their

fraud.




                                             41
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 42 of 62           PageID #: 42




       WHEREFORE, Plaintiff Nancy Batal-Sholler requests that the Court enter

judgment in her favor and against Defendants on her Civil RICO claim, award

monetary damages, treble damages, disgorgement of profits, attorney’s fees and costs

of suit, plus interest, and such other and further relief as this Court deems just and

appropriate.

                   COUNT II – Civil RICO Act, 18 U.S.C. § 1962(b)
                                (All Defendants)

       222.    Plaintiff repeats and realleges the facts stated in Paragraphs 1 through

221 as if fully set forth herein.

       223.    For all of the reasons set forth in Count I above, Defendants engaged in

a violation of the Federal RICO Act.

       224.    Defendant Marilyn Batal, individually and as personal representative of

the estate of Ed, through a pattern of racketeering activity, acquired or maintained,

directly or indirectly, an interest in or control of Batal Corp. and/or the Batal Family

Living Trust, which was engaged in, or the activities of which affected, interstate

commerce.

       225.    As a direct and proximate result of Defendants’ violation of 18 U.S.C. §

1962(b), Plaintiff has been and continues to be damaged and injured in her business

and/or property.

       WHEREFORE, Plaintiff Nancy Batal-Sholler requests that the Court enter

judgment in her favor and against Defendants on her Civil RICO claim, award

monetary damages, treble damages, disgorgement of profits, attorney’s fees and costs




                                           42
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 43 of 62           PageID #: 43




of suit, plus interest, and such other and further relief as this Court deems just and

appropriate.

                   COUNT III – Civil RICO Act, 18 U.S.C. § 1962(c)
                                 (All Defendants)

       226.    Plaintiff repeats and realleges the facts stated in Paragraphs 1 through

225 as if fully set forth herein.

       227.    One or more of the Defendants, who were either employed by or

associated with the enterprise described in Counts I and II above, conducted or

participated in, either directly or indirectly, activities affecting interstate commerce,

in connection with the affairs of the enterprise described herein, through a pattern of

racketeering activity.

       228.    As a direct and proximate result of Defendants’ violation of 18 U.S.C. §

1962(c), Plaintiff has been and continues to be damaged and injured in her business

and/or property.

       WHEREFORE, Plaintiff Nancy Batal-Sholler requests that the Court enter

judgment in her favor and against Defendants on her Civil RICO claim, award

monetary damages, treble damages, disgorgement of profits, attorney’s fees and costs

of suit, plus interest, and such other and further relief as this Court deems just and

appropriate.

                   COUNT IV – Civil RICO Act, 18 U.S.C. § 1962(d)
                                (All Defendants)

       229.    Plaintiff repeats and realleges the facts stated in Paragraphs 1 through

228 as if fully set forth herein.



                                           43
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 44 of 62            PageID #: 44




       230.    For all of the reasons set forth in Counts I through III above, Defendants

unlawfully conspired to violate the provisions of 18 U.S.C. § 1962(c).

       231.    Each of the Defendants actually participated in the conspiracy to defraud

Nancy as alleged herein.

       232.    As a direct and proximate result of Defendants’ violation of 18 U.S.C. §

1962(d), Plaintiff has been and continues to be damaged and injured in her business

and/or property.

       WHEREFORE, Plaintiff Nancy Batal-Sholler requests that the Court enter

judgment in her favor and against Defendants on her Civil RICO claim, award

monetary damages, treble damages, disgorgement of profits, attorney’s fees and costs

of suit, plus interest, and such other and further relief as this Court deems just and

appropriate.

                     COUNT V – ERISA § 510 INTERFERENCE
                                (29 U.S.C. § 1140)
                        (Batal Corp. and Marilyn Batal)

       233. Plaintiff repeats the allegations contained in Paragraphs 1 through 232 as

if fully stated herein.

       234. ERISA § 510 provides that: “It shall be unlawful for any person” to

“discriminate against a participant or beneficiary . . . for the purpose of interfering

with the attainment of any right to which such participant may become entitled under

the plan, this title, or the Welfare and Pension Plans Disclosure Act.”

       235. The Plan discussed above was an employee benefit plan within the

meaning of ERISA.


                                            44
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 45 of 62       PageID #: 45




      236. Because she was legally an employee of the Agency, as set forth above,

Nancy was a “participant” of the Plan within the meaning of ERISA section 510.

      237. Nancy was entitled to benefits under the Plan and she met all

requirements for participation under the Plan.

      238. Defendants interfered with Nancy’s ability to collect benefits under the

Plan in the same manner as other employees of the Agency were allowed to participate

in and contribute to the Plan.

      239. Defendant Batal Corp., by and through its sole shareholder and agent Ed

Batal and/or his wife Marilyn, interfered with Nancy’s rights under ERISA and

prohibited her from obtaining employer contributions to the Plan, which other

employees received.

      240. After Nancy realized that she should have been classified as an employee

of the Agency, and changed her designation as such, the Agency fired her with the

specific intent to deprive her of benefits under the Plan, as well as other employee

benefits to which she was entitled.

      241. Defendants’ discriminatory treatment of Nancy and misclassification of

her employment status was undertaken with the specific intent to deprive her of

employee benefits under the Plan.

      242. Defendants’ discriminatory treatment of Nancy and misclassification of

her employment status was undertaken with the specific intent to deprive her of

retirement benefits and employer contributions.




                                        45
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 46 of 62            PageID #: 46




       243. Defendants’ desire to interfere with Nancy’s right to participate in the Plan

was a motivating factor behind her misclassification as an independent contractor

and/or her ultimate termination from employment.

       244. Because this is a statutory claim, the terms of the Plan do not require

administrative exhaustion.

       245. Alternatively, any administrative exhaustion requirement that existed

does not apply in this case because an appeal would have been futile.

       WHEREFORE, Plaintiff Nancy Batal-Sholler requests that the Court enter

judgment in her favor and against Defendants and award her all equitable, statutory,

and compensatory damages available under ERISA § 510, along with attorney’s fees,

costs and expenses, and all other relief afforded by law.

           COUNT VI – ERISA § 502(a)(1)(B) CLAIM FOR BENEFITS
                         (29 U.S.C. § 1132(a)(1)(B))
                      (Defendants Batal Corp. and the
               Edward B. Batal Defined Contribution Plan)

       246. Plaintiff repeats the allegations contained in Paragraphs 1 through 245 as

if fully stated herein.

       247. Under ERISA § 502(a)(1)(B), an action may be brought “to recover benefits

due” to a plan participant, to enforce her rights under the plan, or to clarify her rights

to future benefits under the terms of the plan.

       248. Because the Agency fraudulently misclassified Nancy’s employment in

order to deprive her of benefits due under the Plan, Nancy was never given adequate

notice of the terms of the Plan, her right to seek benefits under the Plan, or the fact

that she was denied benefits under the Plan.

                                           46
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 47 of 62          PageID #: 47




      249. Under the terms of the Plan and various State and Federal laws that

govern whether an individual is an employee or an independent contractor, Plaintiff

was an employee of Batal Corp.

      250. Upon information and belief, Plaintiff met all participation requirements

contained in the Plan.

      251. Upon information and belief, Plaintiff was eligible for benefits under the

terms of the Plan itself.

      252. If Plaintiff had been properly classified as an employee of Batal Corp., she

would have participated in the Plan by contributing the maximum amount allowed

each year, which the Agency would have matched.

      253. Plaintiff seeks benefits due to her under the Plan, along with attorney’s

fees, costs, and all other relief allowed under ERISA § 502(a)(1)(B).

      254. Administrative exhaustion of Nancy’s ERISA claim for benefits would have

been futile and was not necessary under the circumstances of this case.

      255. Administrative exhaustion of Nancy’s ERISA claim for benefits was not

necessary because Nancy was denied meaningful access to plan documents and

procedures.

      256. Administrative exhaustion of Nancy’s ERISA claim for benefits was not

required because Nancy would suffer irreparable harm if Defendants were allowed to

profit from their fraudulent conduct toward Nancy. Instead, Defendants should be

equitably estopped from arguing that Nancy has failed to exhaust administrative

remedies under the terms of the Plan.



                                          47
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 48 of 62          PageID #: 48




       WHEREFORE, Plaintiff Nancy Batal-Sholler requests that the Court enter

judgment in her favor and against Defendants and award her all equitable and

statutory damages available under ERISA § 502, along with attorney’s fees, costs and

expenses, and all other relief afforded by law.

       COUNT VII – ERISA § 502(a)(2) BREACH OF FIDUCIARY DUTY
       (Defendants Batal Corp. and Marilyn Batal, individually and as
                         Personal Representative)

       257. Plaintiff repeats the allegations contained in Paragraphs 1 through 256 as

if fully stated herein.

       258. Nancy was a Plan participant and/or beneficiary because she was an

employee of the Agency.

       259. As fiduciaries of the Plan who exercised discretion over the management

of fund assets, or administered the Plan itself, Ed and/or Marilyn breached their

responsibilities, obligations, and duties to the Plan. The Plan sustained significant

losses due to unsound investment decisions and mismanagement by Defendants.

       260. Under ERISA, Ed and/or Marilyn are personally liable to make good to the

Plan any losses sustained as a result of their breach of fiduciary duty, including

mismanagement of Plan funds and investments, and intentional misclassification of

Nancy’s employment status.

       261. Marilyn, in her individual capacity as well as her capacity as the personal

representative of Ed’s estate, is personally liable to restore to the Plan any profits

made through use of Plan assets, along with such other equitable or remedial relief

that the Court may deem appropriate.


                                          48
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 49 of 62           PageID #: 49




       262. Nancy brings this breach of fiduciary duty claim on behalf of the Plan as a

whole to redress injuries to the Plan resulting from Ed and Marilyn’s breach of

fiduciary duty.

       263. Plaintiff brings this breach of fiduciary duty claim to obtain appropriate

equitable belief to redress Defendants’ violation of the Plan and enforce any and all

applicable provisions of the Plan and ERISA.

       WHEREFORE, Plaintiff Nancy Batal-Sholler requests that the Court enter

judgment in her favor and against Defendants and award her all equitable and

statutory damages available under ERISA § 502, along with attorney’s fees, costs and

expenses, and all other relief afforded by law.

             COUNT VIII – ERISA § 502(a)(3) EQUITABLE RELIEF
                        (29 U.S.C. § 1132(a)(1)(B)(3))
               (Defendants Batal Corp., Marilyn Batal, and the
                 Edward B. Batal Defined Contribution Plan)

       264. Plaintiff repeats the allegations contained in Paragraphs 1 through 263 as

if fully stated herein.

       265. To the extent not already addressed by Counts V, VI, and VII above,

Plaintiff brings an ERISA § 502(a)(3) claim for equitable relief to remedy the statutory

violations and breach of fiduciary duties described herein.

       266. Disgorgement of profits is a remedy specifically available under the catcall

provisions of ERISA § 502(a)(3).

       267. In addition to disgorgement of profits, Plaintiff seeks equitable relief

estopping Defendants from arguing that she was not entitled to benefits under the

terms of the Plan because she did not become an employee of the Agency until 2017.

                                           49
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 50 of 62           PageID #: 50




Equitable estoppel and other equitable relief is appropriate under the circumstances

of this case because of the fraud described herein.

       WHEREFORE, Plaintiff Nancy Batal-Sholler requests that the Court enter

judgment in her favor and against Defendants and award her all equitable and

statutory damages available under ERISA § 502(a)(3), along with attorney’s fees, costs

and expenses, and all other relief afforded by law.

                             COUNT IX – FRAUD
               (Defendants Marilyn Batal, individually and as PR,
                  Batal Corp., and Batal Family Living Trust)

       268.   Plaintiff repeats the allegations contained in Paragraphs 1 through 267

as if fully stated herein.

       269.   Ed fraudulently induced Nancy to work for Agency for thirty years while

he performed little to no work for the Agency, while promising her that the Agency

would be hers and only hers one day, knowing all along that he had no intention of

selling the Agency to Nancy.

       270.   Alternatively, Marilyn exercised undue influence over Ed and aided and

abetted him in defrauding Nancy. Marilyn convinced Ed not to sell the Agency to

Nancy even though he had promised for more than thirty years to do so.

       271.   One or more of the Defendants made fraudulent misrepresentations of

material facts to Plaintiff, which they knew to be false, about the intent to sell the

Agency to Nancy and/or transfer 40% of the stock in the Agency to her.

       272.   Defendants’ fraudulent misrepresentations induced Nancy to continue

working for the Agency, to refrain from taking her client list elsewhere, to refrain from



                                           50
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 51 of 62           PageID #: 51




demanding an accounting or other information regarding the transfer of stock to her,

and to take other related action in furtherance of the Agency’s ongoing success and

building her customer list.

       273.   Nancy justifiably relied on Defendants’ fraudulent misrepresentations to

her detriment.

       274.   Defendants’ engaged in the aforementioned fraudulent conduct

knowingly and intentionally, under circumstances that suggest actual or implied

malice, justifying an award of punitive damages.

       275.   Nancy has suffered extensive harm and economic loss as a result of the

fraud described herein.

       WHEREFORE, Plaintiff Nancy Batal-Sholler requests that the Court award

her damages for Defendants’ fraud, along with punitive damages, attorney’s fees, costs

and expenses, interest, equitable and injunctive relief, and all other relief afforded to

her by law.

                COUNT X – NEGLIGENT MISREPRESENTATION
               (Defendants Marilyn Batal, individually and as PR,
                  Batal Corp., and Batal Family Living Trust)

       276.   Plaintiff repeats the allegations contained in Paragraphs 1 through 275

as if fully stated herein.

       277.   If the allegations set forth in Count IX above do not constitute outright

fraud, then in the alternative they amount to negligent misrepresentation for the

following reasons.




                                           51
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 52 of 62           PageID #: 52




      278.   Defendants Ed and Marilyn Batal, as well as Batal Corp. and the Batal

Family Living Trust, all had a pecuniary interest in the course of their business,

profession, or employment, regarding the ownership, operation, and/or sale of the

Batal Agency between 2017 and 2019.

      279.   Defendants supplied false information for the guidance of Plaintiff in her

business transactions, subjecting Defendants to liability for Nancy’s pecuniary losses

caused by her justifiable reliance upon information provided by Defendants, especially

Ed and Marilyn Batal.

      280.   Defendants failed to exercise reasonable care or competence in

communicating information to Nancy about the ownership, operation, and/or sale of

the Batal Agency.

      281.   Defendants’ conduct in miscommunicating information to Nancy about

the ownership, operation and/or sale of the Batal Agency was objectively

unreasonable.

      282.   Nancy suffered pecuniary loss and is entitled to damages for Defendants’

negligent misrepresentations.

      WHEREFORE, Plaintiff Nancy Batal-Sholler requests that the Court award

her damages for Defendants’ negligent misrepresentation, along with punitive

damages, attorney’s fees, costs and expenses, interest, equitable and injunctive relief,

and all other relief afforded to her by law.




                                           52
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 53 of 62            PageID #: 53




                COUNT XI – VIOLATION OF THE MAINE UNIFORM
                        FRAUDULENT TRANSFER ACT
                               (14 M.R.S. § 3579(2))
              (Defendants Marilyn Batal, Individually and as PR, and
                         The Batal Family Living Trust)

       283.    Plaintiff repeats the allegations contained in Paragraphs 1 through 282

as if fully stated herein.

       284.    As early as January of 2018, Defendants knew that Plaintiff was a

creditor who would likely assert claims against Ed, the Batal Corp., and/or Marilyn,

making Plaintiff a creditor of Defnedants’ within the meaning of the Maine Uniform

Fraudulent Transfer Act (“UFTA”).

       285.    Defendants are, and since January of 2018 knew they were, debtors of

Nancy’s within the meaning of the UFTA.

       286.    In order to shield assets from Nancy’s reach in future litigation over sale

of the Agency to a third party, and all other legal disputes referenced herein,

Defendants fraudulently transferred the Agency itself as well as property owned by

Defendants, making Defendants transferees within the meaning of 14 M.R.S. §

3579(2).

       287.    Defendants’ transfers of real property to the Batal Family Living Trust,

and in fact the sale of the Agency itself, are all voidable transactions within the

meaning of the UFTA. The transfers of real estate described above were fraudulent,

because they were to an insider, the debtor retained possession and control of the

assets, Defendants knew that litigation was likely based on the events described

above, the transfers represented a substantial amount of Defendants’ assets, no value



                                            53
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 54 of 62           PageID #: 54




or consideration was given for the transfers of real estate into the Batal Family Living

Trust, and the intent of the transfers was to hide or conceal assets from Nancy.

       288.   The transfers of real estate when the Batal Family Living Trust sold

assets were also fraudulent for all of the same reasons outlined above. Even though

such transfers were not to insiders, and value was given for the transfers, Defendants’

intent was still to shield assets from Nancy.

       289.   All of the fraudulent transfers described herein were made with the

actual intent to hinder, delay or defraud Nancy.

       290.   Plaintiff seeks all remedies available to her under the Maine UFTA,

including without limitation avoidance of the transfers to the extent necessary to

satisfy Nancy’s claim, attachment and trustee process against the asset transferred or

other property of the transferees, an injunction against further disposition of property

by the debtor or a transferee, or both, and damages amounting to double the value of

the property transferred or concealed.

       WHEREFORE, Plaintiff Nancy-Batal Sholler seeks all damages to which she is

entitled under the Maine Uniform Fraudulent Transfer Act, including a monetary

judgment against transferee Defendants and such other and further relief as this

Court deems just and appropriate.

              COUNT XII: TORTIOUS INTERFERENCE WITH
                     EXPECTANCY OF INHERITANCE
        (Defendants Marilyn Batal and the Batal Family Living Trust)

       291.   Plaintiff repeats the allegations contained in Paragraphs 1 through 290

as if fully stated herein.



                                          54
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 55 of 62           PageID #: 55




      292.   Nancy had a reasonable and valid expectation that she would inherit

under Ed’s will, which included assets worth well over $1 million. In addition to the

properties described above, Ed owed real estate in South Carolina and also Costa Rica.

      293.   Defendants engaged in intentional interference of Nancy’s expectancy of

inheritance by conduct that amounted to fraud, duress, and/or undue influence.

      294.   Marilyn was extremely jealous of Nancy and her relationship with Ed.

For years, Marilyn filled Ed’s head with lies about Nancy on a regular basis. Once Ed

became sick, Marilyn’s fraudulent misrepresentations about Nancy increased in

severity.

      295.   Marilyn had an employee of the Agency spy on Nancy so she could

convince Ed that Nancy was lazy, she was not doing any work for the Agency, and she

did not want to buy the business from Ed.

      296.   Ed changed his will in 2018 at or around the same time that he executed

the Batal Family Living Trust. Each of these actions were the direct result of Marilyn’s

fraud and undue influence over Ed, as she convinced him to disinherit Nancy.

      297.   Ed’s will change came at or around the same time that Nancy refused to

sign an agreement saying that she would not compete with the buyer of the Batal

Agency.

      298.   Prior to Ed’s will change, Nancy would have inherited in equal shares

along with her siblings and Marilyn. After the Batal Family Living Trust was

executed, Ed left the share of his estate that should have gone to Nancy to Marilyn’s

two daughters (Ed’s stepdaughters).



                                          55
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 56 of 62         PageID #: 56




      299.   Nancy’s expectancy of inheritance would have been realized, but for

Marilyn’s fraud, intentional interference, and undue influence.

      300.   Marilyn exploited Ed’s trust and used her confidential relationship with

him to induce fear in Ed that the Agency he started many years ago would falter if he

left it to Nancy. Marilyn then exploited Ed’s trust and her confidential relationship

with him to convince Ed that Nancy should be disinherited from his will.

      301.   Marilyn took the above actions to interfere with Nancy’s inheritance

knowing that Ed was suffering from severe health problems that caused him

diminished mental capacity toward the end of his life.

      302.   A presumption of undue influence exists in this case due to the

confidential relationship between Ed and Marilyn.

      303.   Marilyn cannot prove fairness on her part or that the changes to Ed’s

will, and the creation of the Batal Family Living Trust, were free from undue

influence.

      304.   Nancy has suffered significant economic damage resulting from

Marilyn’s intentional and tortious interference with her expectancy of inheritance.

      305.   Marilyn’s intentional interference with Nancy’s expectancy was

motivated by ill will toward Nancy or was so outrageous that malice toward her can

be implied, justifying an award of punitive damages.

      WHEREFORE, Plaintiff Nancy-Batal Sholler seeks all damages to which she is

entitled for Defendants’ intentional interference with her expectancy of inheritance,




                                         56
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 57 of 62           PageID #: 57




including monetary, compensatory, and punitive damages, along with and such other

and further relief as this Court deems just and appropriate.

      COUNT XIII: TORTIOUS INTERFERENCE WITH PROSPECTIVE
                      ECONOMIC ADVANTAGE
                      (Defendant Marilyn Batal)

       306.   Plaintiff repeats the allegations contained in Paragraphs 1 through 305

as if fully stated herein.

       307.   For all of the reasons set forth above, Marilyn tortiously interfered with

Ed’s desire to sell the Agency to his daughter toward the end of his life.

       308.   Marilyn repeatedly insisted that Ed could not sell the Agency to Nancy,

despite his many promises to do so, because she wanted to profit from Nancy’s hard

work without having to give up any of the money that Nancy was making for the

Agency.

       309.   Marilyn knew that Ed had promised, in writing, to sell the Agency to

Nancy, and Nancy’s continued employment at the Agency was induced by Ed’s

promises.

       310.   A prospective economic advantage and/or valid and binding contract to

sell the Agency existed, and Marilyn knew about it. Marilyn also knew that Ed had

previously agreed to transfer 40% of the stock in the Agency to Nancy, but Marilyn

fraudulently induced Ed to renege on that promise.

       311.   Marilyn intentionally interfered with the contract and/or economic

advantage that Nancy stood to gain as a reward for years of hard work at the Agency.

Nancy worked long, hard hours and developed business for the Agency while Ed and



                                           57
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 58 of 62          PageID #: 58




Marilyn reaped the rewards. Marilyn then convinced Ed not to sell the Agency to

Nancy.

       312.   Nancy has suffered significant economic damage resulting from

Marilyn’s intentional and tortious interference with her prospective economic

advantage.

       313.   Marilyn’s intentional interference with Nancy’s prospective economic

advantage was motivated by ill will toward Nancy or was so outrageous that malice

toward her can be implied, justifying an award of punitive damages.

       WHEREFORE, Plaintiff Nancy-Batal Sholler seeks all damages to which she is

entitled for Defendants’ intentional interference with her prospective economic

advantage, including monetary, compensatory, and punitive damages, along with and

such other and further relief as this Court deems just and appropriate.

                         COUNT XIV – UNPAID OVERTIME
                                (26 M.R.S. § 664)
                            (Defendant Batal Corp.)

       314.   Plaintiff repeats the allegations contained in Paragraphs 1 through 313

as if fully stated herein.

       315.   For all of the reasons set forth above, Batal Corp. purposefully

misclassified Nancy as an independent contractor rather than an employee of the

Agency out of a greedy desire to pay her less money in the form of overtime, vacation

pay, and other employee benefits.

       316.   Batal Corp. violated the Maine Minimum Wage Law and Plaintiff is

entitled to unpaid overtime dating back six years from the filing of this Complaint, as



                                          58
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 59 of 62            PageID #: 59




well as an additional amount as liquidated damages, plus costs of suit and attorney’s

fees.

        WHEREFORE, Plaintiff Nancy Batal-Sholler requests that the Court enter

judgment in her favor and against Defendant Batal Corp. and award her damages in

the form of unpaid overtime, liquidated damages, attorney’s fees, costs and expenses,

equitable and injunctive relief, and all other relief afforded to her by law.

                COUNT XV – UNPAID MINIMUM WAGES UNDER
                      MAINE’S MINIMUM WAGE LAW
                              (26 M.R.S. § 664)
                          (Defendant Batal Corp.)

        317.   Plaintiff repeats the allegations contained in Paragraphs 1 through 316

as if fully stated herein.

        318.   Because Plaintiff was misclassified as an independent contractor instead

of an employee, Defendant failed to pay her minimum wage for all hours worked.

        319.   Plaintiff is therefore entitled to unpaid minimum wages dating back six

years from the filing of this Complaint, as well as an additional amount as liquidated

damages, plus costs of suit and attorney’s fees.

        WHEREFORE, Plaintiff Nancy Batal-Sholler requests that the Court enter

judgment in her favor and against Defendant Batal Corp. and award her damages in

the form of unpaid minimum wages, liquidated damages, attorney’s fees, costs and

expenses, equitable and injunctive relief, and all other relief afforded to her by law.




                                           59
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 60 of 62           PageID #: 60




COUNT XVI – MISAPPROPRIATION OF TRADE SECRETS IN VIOLATION
         OF THE MAINE UNIFORM TRADE SECRETS ACT
                    (10 M.R.S. § 1541 et seq.)
                    (Defendant Batal Corp.)

        320.   Plaintiff repeats the allegations contained in Paragraphs 1 through 319

as if fully stated herein.

        321.   Plaintiff has alleged above that Defendant misclassified her as an

independent contractor when she should have been an employee. In the alternative, if

Plaintiff was an independent contractor then all of the clients she serviced at the

Agency, her entire customer list, and the goodwill of the business she developed

belonged to her.

        322.   Even if Plaintiff was an employee of the Batal Agency, the clientele she

developed was a “trade secret” that belonged to her, which she should have been free

to market and serve following the sale of the Batal Agency.

        323.   Regardless of Plaintiff’s status as an employee or independent contractor

of the Agency, Defendant acquired her customer list and all assets of the Agency that

Nancy worked for thirty years to develop, by fraud, theft, and/or breach of fiduciary

duty.

        324.   Batal Corp. acquired Nancy’s customer list and all other trade secrets

developed by her over thirty years, with the promise that the Agency would be hers

and only hers one day, by improper means.

        325.   Batal Corp. disclosed Nancy’s entire customer list and all other trade

secrets that she worked for thirty years to develop without her consent to a third party




                                           60
 Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 61 of 62         PageID #: 61




that knew or had reason to know that Nancy’s trade secrets had been misappropriated

or obtained by improper means.

      326.   At the time Batal Corp. misappropriated and sold Nancy’s trade secrets

right out from under her, the company owed Nancy a duty to maintain the secrecy of

Nancy’s entire customer list and all related trade secrets and limit its use by third

parties.

      327.   For all of the foregoing reasons, a violation of the Maine Uniform Trade

Secrets Act has occurred.

      328.   Nancy has suffered economic and other harm as a result of Defendant’s

violation of the Maine Uniform Trade Secrets Act.

      329.   Defendant’s misappropriation of Nancy’s trade secrets was willful and

malicious, justifying an award of exemplary damages.

      WHEREFORE, Plaintiff Nancy Batal-Sholler requests that the Court enter

judgment in her favor and against Defendant Batal Corp. and award her damages for

Defendant’s violation of the Uniform Trade Secrets Act, along with exemplary

damages, attorney’s fees, costs and expenses, equitable and injunctive relief, and all

other relief afforded to her by law.

                               JURY TRIAL DEMAND

      Plaintiff Nancy Batal-Sholler hereby demands a jury trial on all matters so

triable under the laws and Constitution of the United States and the State of Maine.




                                         61
Case 2:21-cv-00376-NT Document 1 Filed 12/31/21 Page 62 of 62    PageID #: 62




Dated: December 31, 2021                 /s/ Laura H. White

                                         ________________________________
                                         Laura H. White, Esq. (Bar No. 4025)
                                         Attorney for Plaintiff
                                         WHITE & QUINLAN, LLC
                                         62 Portland Rd., Suite 21
                                         Kennebunk, ME 04043
                                         (207) 502-7484
                                         lwhite@whiteandquinlan.com


                                         /s/ Danielle Quinlan

                                         ________________________________
                                         Danielle Quinlan, Esq.
                                         Attorney for Plaintiff
                                         WHITE & QUINLAN, LLC
                                         62 Portland Rd., Suite 21
                                         Kennebunk, ME 04043
                                         (207) 502-7484
                                         dquinlan@whiteandquinlan.com




                                    62
